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Name and address:
George Taylor Wilson (pro hac vice pending)
L. LlN WOOD, P.C.
1180 West Peachtree Street, Suite 2400
Atlanta, Georgia 30309
Telephone: (404) 891-1402 | Facsimile: (404) 506-9111

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT GF CALIFORNIA

 

 

 

vERNON UNSWORTH CASE NUMBER
Plaintiff(s),
V.
APPLICATION OF NON-RESIDENT ATTORNEY
ELON MUSK TO APPEAR IN A SPECIFIC CASE
Defendam($), PRO HAC VICE

 

 

INSTRUCTIONS FOR APPLICANTS

(l) The attorney seeking to appear pro hac vice must complete Section I of this Application, personally sign, in ink, the certification in
Section II, and have the designated Local Counsel sign in Section III. ELECTRONIC SIGNA TURES ARE NOTACCEPTED. Space to
supplement responses is provided in Section IV. The applicant must also attach a Certificate of Good Standing ( issued within the last 30
days) from every state bar to which he or she is admitted; failure to do so will he grounds for denying the Application. Scan the
completed Application with its original ink signature, together with any attachment(s), to a single Portahle Document Format (PDF)file.

(2) Have the designated Local Counsel file the Application electronically using the Court's CM/ECF System ("Motions and Related Filings
=> Applications/Ex Parte Applications/Motions/Petitions/Requests => Appear Pro Hac Vice (G-64) "), attach a Proposed Order ( using
Form G-64 ORDER, available from the Court's website), and pay the required $400 fee online at the time of filing ( usinga credit card).
T he fee is required for each case in which the applicant files an Application. Failure to pay the fee at the time of filing will he grounds for
denying the Application. Out-of-state federal government attorneys are not required to pay the $400fee. (Certain attorneys for the
United States are also exempt from the requirement of applying for pro hac vice status. See L.R. 83-2.1.4.) A copy of the G-64 ORDER in
Word or WordPerfect format must be emailed to the generic chambers email address L.R. 5-4.4.2.

SECTION I - INFORMATION
Wilson, G. Taylor

 

 

 

 

 

 

 

Applicant's Name (Last Name, First Name eid Middle Inz`tial) '\ check here if federal government attorney [1
L. Lin Wood, P.C.
Firm/Agency Name
1180 West Peachtree Street (404) 891~1402 (404) 506-91 ll
Telephone Number Fax Number
Street Address
Atlanta, Georgia 30309 twilson@linwoodlaw.com
City, State, Zip Code E-mail Address

I have been retained to represent the following parties:

VERNON UNSWORTH §§ Plaintiff(s) §:j Defendant(s) [:§ Other:
f:} >Plaintijj“(s) f:j Defendant(s) § Other:

 

Name(s) of Party( ies) Represen ted

List all state and federal courts (including appellate courts) to which the applicant has been admitted, and provide the current status of his or
her membership Use Section IV if more room is needed, or to provide additional information

 

 

 

 

Name of Court Date ofAdrnission Active Member in Good Standing? ( if not, please explain)
Georgia Superior and State Courts November 2014 YES
Georgia Court of Appeals May 2015 YES
Georgia Supreme Court May 2015 YES

 

 

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List all cases in Which the applicant has applied to this Court for pro hac vice status in the previous three years (continue in Section IV if
needed):

 

Case Number Title of Action Date of Application Granted / Denied?
N/A N/A N/A N/A

 

 

 

 

 

If any pro hac vice applications submitted Within the past three (3) years have been denied by the Court, please explain:

No

 

 

 

 

Has the applicant previously registered as a CM/ECF user in the Central District of California? m Yes No
lfyes, was the applicant's CM/ECF User account associated with the e-mail address provided above? § Yes l:| No

 

Previous E-mail Used (ifapplicable)

Attorneys must be registered for the Court's Case Management/Electronic Case Filing ("CM/ECF") System to be admitted to practice pro hac
vice in this Court. Submission of this Application will constitute your registration (or re-registration) as a CM/ECF User. If the Court signs an
Order granting your Application, you will either be issued a new CM/ECF login and password, or the existing account you identified above
will be associated with your case. Pursuant to Local Rule 5-3.2.3, registering as a CM/ECF User is deemed consent, for purposes of Fed. R. Civ.
P. 5(b)(2)(E), to electronic service of documents through the CM/ECF System. You have the right to withhold or revoke your consent to
electronic service at any time; simply complete and return a Central District Electronic Service Exemption Form (Form G-05, available from
the Court's website). If the Court receives an Electronic Service Exemption Form from you, you will no longer receive notice by e-mail when
Court orders or other documents are filed in cases in which you are counsel of record; instead, copies of such documents will be sent to you

through the mail.

SECTION II - CERTIFICATION

I declare under penalty of perjury that:

(1) All of the above information 1s true and correct.

(2) I am not a resident of the State of California. I am not regularly employed 1n, or engaged m substantial business,
profess1onal, or other activities 1n the State of California.

(3) l am not currently suspended from and have never been disbarred from practice in any court.

(4) I am familiar with the Court's Local Civil and Criminal Rules, the Federal Rules of Civil and Criminal Procedure,
and the Federal Rules of Evidence.

(5) I designate the attorney listed 1n Sect10n III below, who 1s a member 1n good standing of the Bar of this Court and
maintains an office m the Central District of California for the practice of law, as local counsel pursuant to Local

Rule 83- 2.1.3.4.

Dated iii l “"l `lg G. Taylor Wilson

Applicant's Name ( please type orprint)

;/ssa

Applicant s ${gn ature

 

 

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SECTION III - DESIGNATION ()F LOCAL COUNSEL

CHATHAM, R. CHRISTOPHER
Designee's Name (Last Name, First Name 64 Middle Initial)

 

 

 

 

CHATHAM LAW GROUP
Firm/Agency Name
3109 W. Temple Ave 213-277-1800
' Telephone Number Fax Number
Street Address chris@chathamfirm.com

 

Los Angeles, CA 90026 E-mail Address

City, State, Zip Code 240972
Designee's California State Bar Number

 

I hereby consent to the foregoing designation as local counsel, and declare under penalty of perjury that I maintain an office in the
Central District of California for the practice of law.

Dated 67 /Z, /X R. cHRIsToPHER cHATHAM

Designee's Name (please type or int)

/:ee j

Designee 's Signatu re

SECTION IV ~ SUPPLEMENT ANSWERS HERE (ATTACH ADDITIONAL PAGES IF NECESSARY)

 

Additional Courts:

United States District Court, Northern District of Georgia, May 2015, YES
United States Court of Appeals for the llth Circuit, March 2015, YES

3rd Circuit Court, Wayne County, Michigan, November 2016, YES
District Court, Clark County, Nevada, ]une 2018, YES

United States District Court, District of Nevada, April 2018, YES

District Court, Bolder County, Colorado, August 2018, YES

 

 

 

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ila State Bar
é§§ of Georgia

 

Lawyers Seruing the Public and the Justicc System

Mr. G. 'l`aylor Wilson

L. Lin Wood PC

1180 West Peachtree Street NW Suite 2400
Atlanta, GA 30309

CURRENT STATUS: Active Membcr-Good Standing
DATE OF ADMISSION: 11/07/2014

BAR NUMBER: 460781

TODAY'S DATE: 09/14/2018

The prerequisites for practicing law in the State of Georgia are as follows:

' Certit"led by the Off“lce of BarAdmissions, either by Exam, or on Motion (Reciprocity).
' Sworn in to the Superior Court in Georgia, highest court required to practice law in Georgia.
' Enrolled with the State Bar of Georgia, administrative arm of the Supreme Court of Georgia.

This member is currently in “good standing” as termed and defined by State Bar Rule 1-204. The member is
current in license fees and is not suspended or disbarred as of the date of this letter

STATE BAR OF GEORGIA

chde dam/md

Ofticial Representative of the State Bar of Georgia

 

 

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